 Case 1:19-cr-00008-SOM Document 1 Filed 01/16/19 Page 1 of 13                              PageID #: 1

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Attorney for the United States,                                              FILED IN THE
Acting Under A uthority Conferred by 28 U.S .C. § 515            UNITED STATES DISTRICT COURT
                                                                      DISTRICT OF HAWAII
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UNITED STATES OF AMERICA

                         IN THE UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF HAWAll


UNITED ST A TES OF AMERICA,                    )       cR.~B. 19         aooosSOM
                                               )
                      P laintiff,              )       INFORMATION
                                               )
       vs.                                     )       [18 U .S.C. § 37 1]
                                               )
FRANK JAMES LYON,                              )
    Aka "Jim Lyon,"                            )
                                               )
                      Defendant.               )


                                         INFORMATION

THE UNITED STATES CHARGES:

       At all times relevant to thi s Info rmation, unless otherwise stated:

            THE DEFENDANT AND REFERENCED INDIVIDUALS AND ENTITIES

       1.      The defendant FRANK J AMES LYON, also known as " Jim Lyon", was a United

States citizen and resident. FRANK JAMES LYON was a "domestic concern" as that term is
 Case 1:19-cr-00008-SOM Document 1 Filed 01/16/19 Page 2 of 13                     PageID #: 2



defined in the Foreign Corrupt Practices Act ("FCPA"), Title 15, United States Code, Section

78dd-2(h)(l), and a "United States person" as that term is defined in the FCPA, Title 15, United

States Code, Section 78dd-2(i).

       2.      "Co-Conspirator I," an individual whose identity is known to the United States,

was a United States citizen and resident. Co-Conspirator I was a "domestic concern" as that term

is defined in the FCPA, Title 15, United States Code, Section 78dd-2(h)(l), and a "United States

person" as that term is defined in the FCPA, Title 15, United States Code, Section 78dd-2(i).

       3.      "Co-Conspirator 2," an individual whose identity is known to the United States,

was a United States citizen who resided in the Federated States of Micronesia ("FSM"). Co-

Conspirator 2 was a "domestic concern" as that term is defined in the FCPA, Title 15, United

States Code, Section 78dd-2(h)(l), and a "United States person" as that term is defined in the

FCPA, Title 15, United.States Code, Section 78dd-2(i).

       4.      "State Agency," an entity whose identity is known to the United States, was a

Hawaii governmental agency that received United States federal assistance in excess of $10,000

each year between at least in or around 2011 and in or around 2016 as part of a Federal program

involving a grant.

       5.      "Co-Conspirator 3," an individual whose identity is known to the United States,

was a United States citizen and resident. Co-Conspirator 3 was an employee of State Agency from

at least approximately 2008 until at least approximately 2012.

       6.       "Engineering Company," an entity whose identity is known to the United States,

was a privately-held United States engineering and consulting company headquartered in

Honolulu, Hawaii and organized under the laws of Hawaii. Engineering Company was owned and

controlled by FRANK JAMES LYON and Co-Conspirator 1. In or around and between 2006



                                                2
 Case 1:19-cr-00008-SOM Document 1 Filed 01/16/19 Page 3 of 13                         PageID #: 3




and 2016, Engineering Company obtained contracts valued at approximately $7 .8 million with the

FSM government, including for an airport improvement project funded in large part by the United

States Federal Aviation Administration ("FAA AIP Contract") and for project management. In or

around 2012, Engineering Company obtained a contract with State Agency.                  Engineering

Company was a "domestic concern" as that term is defined in the FCPA, Title 15, United States

Code, Section 78dd-2(h){l ), and a "United States person" as that term is defined in the FCPA,

Title 15, United States Code, Section 78dd-2(i).

          7.   "Micronesian Official l," an individual whose identity is known to the United

States, was a government official in the FSM Department of Transportation, Communications and

Infrastructure who administered FSM's aviation programs, including the management of its

airports. Micronesian Official 1 was a "foreign official" as that term is defined in the FCPA, Title

15, United States Code, Section 78dd-2(h)(2)(A).

          8.   "Micronesian Official 2," an individual whose identity is known to the United

States, was a government official in the FSM Congress who served on a congressional committee

with oversight over Engineering Company's FSM contracts.             Micronesian Official 2 was a

"foreign official" as that term is defined in the FCPA, Title 15, United States Code, Section 78dd-

2(h)(2)(A).


                         THE FOREIGN CORRUPT PRACTICES ACT


          9.   The FCPA makes it unlawful to act corruptly in furtherance of an offer, promise,

authorization, or payment of money or anything of value, directly or indirectly, to a foreign official

for the purpose of assisting in obtaining or retaining business for, or directing business to, any

person.




                                                   3
 Case 1:19-cr-00008-SOM Document 1 Filed 01/16/19 Page 4 of 13                      PageID #: 4



                                   GENERAL ALLEGATIONS

        10.    From in or around 2006 through in or around 2016, FRANK JAMES LYON,

together with his co-conspirators, provided bribe payments to FSM officials totaling at least

approximately $200,000 in order to obtain approximately $7 .8 million in contract payments.

        11.    From in or around 2011 through in or around 2016, FRANK JAMES LYON,

together with his co-conspirators, provided bribe payments in cash to Co-Conspirator 3, for

distribution to State Agency officials, totaling at least approximately $240,000 in order to obtain

a $2.5 million contract.

                                           COUNT ONE
          CONSPIRACY TO VIOLATE THE FCPAANDTO PAY A BRIBE
       TO AN AGENT OF AN ORGANIZATION RECEIVING FEDERAL FUNDS

        12.    The allegations contained in paragraphs one through 11 of this Information are re-

alleged and incorporated by reference as if fully set forth herein.

        13.    From in or around 2006 through in or around 2016, the exact dates being unknown

to the United States, in the District of Hawaii, and elsewhere, the defendant,


                                     FRANK JAMES LYON

did willfully, that is, with the intent to further the objects of the conspiracy, and knowingly,

combine, conspire, confederate, and agree with others, known and unknown to the United States,

to commit certain offenses against the United States, to wit:


               a.      being a domestic concern, to willfully make use of the mails and means and

instrumentalities of interstate commerce corruptly in furtherance of an offer, payment, promise to

pay, and authorization of the payment of any money, offer, gift, promise to give, and authorization

of the giving of anything of value, to a foreign official or to a person, while knowing that all or


                                                  4
 Case 1:19-cr-00008-SOM Document 1 Filed 01/16/19 Page 5 of 13                             PageID #: 5



part of such money or thing of value would be and had been offered, given, or promised to a foreign

official, for purposes of (i) influencing acts or decisions of such foreign official in his or her official

capacity; (ii) inducing such foreign official to do or omit to do acts in violation of the lawful duty

of such official; (iii) securing any improper advantage; or (iv) inducing such foreign official to use

his or her influence with a foreign government or agencies or instrumentalities thereof to affect or

influence acts or decisions of such government or agencies or instrumentalities, in order assist

FRANK JAMES LYON, Engineering Company, and others in obtaining and retaining business

for and with, and directing business to, Engineering Company and others, in violation of Title 15,

United States Code, Section 78dd-2(a);

                b.      being a United States person acting outside the United States, to willfully

and corruptly make an offer, payment, promise to pay, and authorization of the payment of any

money, offer, gift, promise to give, and authorization of the giving of anything of value, to a foreign

official or to a person, while knowing that all or part of such money or thing of value would be

and had been offered, given, or promised to a foreign official, for purposes of (i) influencing acts

or decisions of such foreign official in his or her official capacity; (ii) inducing such foreign official

to do or omit to do acts in violation of the lawful duty of such official; (iii) securing any improper

advantage; or (iv) inducing such foreign official to use his or her influence with a foreign

government or agencies or instrumentalities thereof to affect or influence acts or decisions of such

government or agencies or instrumentalities, in order assist FRANK JAMES LYON, Engineering

Company, and others in obtaining and retaining business for and with, and directing business to,

Engineering Company, in violation of Title 15, United States Code, Section 78dd-2(i); and

                c.      to corruptly give, offer, and agree to give anything of value to any person,

with the intent to influence and reward an agent of an organization or of a State, local or Indian



                                                     5
 Case 1:19-cr-00008-SOM Document 1 Filed 01/16/19 Page 6 of 13                      PageID #: 6




tribal government, or any agency thereof, that received benefits in excess of $10,000 in any one-

year period, under a Federal program involving a grant, contract, subsidy, loan, guarantee,

insurance, and other form of Federal assistance, in connection with any business, transaction, and

series of transactions of such organization, government, or agency involving anything of value of

$5,000 or more, in violation of Title 18, United States Code, Section 666(a)(2).


                              PURPOSE OF THE CONSPIRACY

       14.     It was the purpose of the conspiracy for FRANK JAMES LYON and his co-

conspirators to unlawfully enrich themselves by making corrupt payments to FSM officials and

State Agency officials in order to obtain and retain contracts and to obtain contract payments for

Engineering Company from the FSM and from State Agency.

                      MANNER AND MEANS OF THE CONSPIRACY

       15.     The manner and means by which FRANK JAMES LYON and his co-conspirators

sought to accomplish the purposes of the conspiracy included, among other things, the following:

       16.     FRANK JAMES LYON, together with his co-conspirators, discussed in person,

via email, and via telephone their need and agreement to pay bribes to obtain and retain business

and contracts from the FSM and State Agency and to obtain payments on those contracts.

       17.     FRANK JAMES LYON, together with his co-conspirators, discussed in person,

via email, and via telephone that they would pay bribes to FSM officials and State Agency officials

to obtain and retain business and contracts from the FSM and State Agency and to obtain payments

on those contracts, including via wire transfers.

       18.     FRANK JAMES LYON, together with his co-conspirators, caused the transfer of

funds from Engineering Company to FRANK JAMES LYON's personal bank account and

withdrew cash from his personal bank account to pay cash bribes to FSM officials and State

                                                    6
     Case 1:19-cr-00008-SOM Document 1 Filed 01/16/19 Page 7 of 13                  PageID #: 7




Agency officials and to pay bribes in the form of vehicles, gifts, and entertainment for FSM

officials.

         19.     FRANK JAMES LYON, together with his co-conspirators, falsely classified

Engineering Company expenses as "business development" and "marketing" when in fact those

funds were used to pay bribes in the form of gifts and entertainment for FSM officials.

         20.     FRANK JAMES LYON, together with his co-conspirators, used Engineering

Company bank accounts and credit cards to pay bribes in the form of covering the costs of personal

travel for FSM officials.

         21.     FRANK JAMES LYON, together with his co-conspirators, caused Engineering

Company to make corrupt payments to a relative of Co-Conspirator 3, totaling approximately

$24,000, purportedly for services provided to Engineering Company by the relative of Co-

Conspirator 3.     However, the relative of Co-Conspirator 3 did not provide any services to

Engineering Company. The purpose of the payments was for Co-Conspirator 3's participation in

influencing the award of a State Agency contract in favor of Engineering Company. During this

period, Co-Conspirator 3 was an employee of State Agency.

         22.     FRANK JAMES LYON, together with his co-conspirators, caused Engineering

Company to make corrupt payments to Co-Conspirator 3, totaling approximately $132,500,

purportedly for marketing services provided to Engineering Company by Co-Conspirator 3.

However, the purpose of the payments was for Co-Conspirator 3's participation in influencing the

award of a State Agency contract in favor of Engineering Company.

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                                                7
 Case 1:19-cr-00008-SOM Document 1 Filed 01/16/19 Page 8 of 13                      PageID #: 8




                                            OVERT ACTS

       23.     In furtherance of the conspiracy and to accomplish its objects and purpose, at least

one of the co-conspirators committed and caused to be committed, in the District of Hawaii, and

elsewhere, at least one of the following overt acts, among others:

       24.     On or about December 28, 2010, FRANK JAMES LYON sent an email to Co-

Conspirator 2 regarding Engineering Company's purchase of travel relating to the FAA AIP

Contract and an unrelated side trip to Las Vegas, Nevada, including for Micronesian Official 1 and

his wife. FRANK JAMES LYON stated that the side trip would be expensive, but also stated,

"This. is a huge (and very very very critical to get renewed) contract so I am not trying to save

money- or god forbid- insult [Micronesian Official 1]."

       25.     On or about December 28, 2010, Co-Conspirator 2 sent an email in reply to the

email in Paragraph 24, in which Co-Conspirator 2 stated that the Engineering Company employees

on the trip could charge their trip to the FAA AIP Contract, concealing the Las Vegas side trip,

but collecting per diem during that time.

       26.     On or about December 28, 2010, Co-Conspirator 2 replied again to the email thread

referenced in Paragraphs 24 and 25, stating, "Please erase this entire email when you are done."

       27.     On or about March 31, 2011, FRANK JAMES LYON and his co-conspirators

caused Engineering Company to make a corrupt payment of $4,000 to a relative of Co-Conspirator

3, purportedly for consulting services, when in fact the payment was intended to compensate Co-

Conspirator 3 for influencing the award of a State Agency contract in favor of Engineering

Company.

       28.     In or around 2012, before State Agency awarded a contract to Engineering

Company, FRANK JAMES LYON entered into an agreement with Co-Conspirator 3 whereby,



                                                 8
 Case 1:19-cr-00008-SOM Document 1 Filed 01/16/19 Page 9 of 13                        PageID #: 9




after State Agency awarded the contract to Engineering Company, FRANK JAMES LYON

would cause a portion of the State Agency contract payments to Engineering Company to be paid

periodically to Co-Conspirator 3 to benefit Co-Conspirator 3 and certain State Agency officials

who would have influenced the award of the State Agency contract to Engineering Company.

       29.     In or around 2012, Co-Conspirator 3 and certain State Agency officials caused State

Agency to award a $2.5 million contract to Engineering Company in fulfillment of the corrupt

agreement referenced in Paragraph 28.

       30.     In or around 2012, after Engineering Company was awarded the $2.5 million State

Agency contract, FRANK JAMES LYON met with Co-Conspirator 3 in the District of Hawaii

to provide a corrupt cash payment to Co-Conspirator 3, which FRANK JAMES LYON and Co-

Conspirator 3 understood was in furtherance of the corrupt agreement referenced in Paragraph 28

to benefit Co-Conspirator 3 and certain State Agency officials who had served on the selection

committee and influenced the award of the $2.5 million State Agency contract to Engineering

Company.

       31.     In or around 2012, FRANK JAMES LYON and his co-conspirators purchased an

automobile for Micronesian Official 1's personal use in order to obtain and retain business.

       32.     On or about July 8, 2013, Micronesian Official. I sent an email to FRANK JAMES

LYON to go look at a Ford truck to potentially purchase for him, which FRANK JAMES LYON

forwarded to Co-Conspirator 1, stating, ''[T]his is an example of things [I] have to do[.] [I] have

to find a car, negotiate a price, figure out how to pay for it, get it on a ship to [P]ohnpei[, FSM.]

[T]his is illegal[.] [I] can only do these things when people don't know what I am doing[.]"

       33.     In or around 2013, FRANK JAMES LYON met with Co-Conspirator 3 in the

District of Hawaii to provide a corrupt cash payment to Co-Conspirator 3, which FRANK JAMES



                                                  9
Case 1:19-cr-00008-SOM Document 1 Filed 01/16/19 Page 10 of 13                     PageID #: 10




LYON and Co-Conspirator 3 understood was in furtherance of the corrupt agreement referenced

in Paragraph 28 to benefit Co-Conspirator 3 and certain State Agency officials who had served on

the selection committee and influenced the award of the $2.5 million State Agency contract to

Engineering Company.

       34.     On or about January 20, 2014, FRANK JAMES LYON and his co-conspirators

caused a wire transfer in the amount of approximately $3,902.99 to be sent from a bank account

controlled by FRANK JAMES LYON to the University of Hawaii to pay tuition for a relative of

Micronesian Official 1.

       35.     On or about April 11, 2014, FRANK JAMES LYON and his co-conspirators

caused a wire transfer in the amount of approximately $3,599.98 to be sent from a bank account

controlled by FRANK JAMES LYON to the University of Hawaii to pay tuition for a relative of

Micronesian Official 1.

       36.     In or around 2014, FRANK JAMES LYON met with Co-Conspirator 3 in the

District of Hawaii to provide a corrupt cash payment to Co-Conspirator 3, which FRANK JAMES

LYON and Co-Conspirator 3 understood was in furtherance of the corrupt agreement referenced

in Paragraph 28 to benefit Co-Conspirator 3 and certain State Agency officials who had served on

the selection committee and influenced the award of the $2.5 million State Agency contract to

Engineering Company.

       37.     On or about April 6, 2015, in order to destroy evidence of the corrupt payments,

FRANK JAMES LYON instructed an Engineering Company information technology consultant

to automatically delete his emails after five days.

       38.     In or around June 2015, FRANK JAMES LYON and Micronesian Official 1

instructed Co-Conspirator 2 to draft a request for qualification document seeking bids for an FSM



                                                 10
Case 1:19-cr-00008-SOM Document 1 Filed 01/16/19 Page 11 of 13                      PageID #: 11



project management contract ("PMU Contract"), including drafting selection criteria to favor

Engineering Company in order to obtain an improper business advantage and win the PMU

Contract.

       39.     On or about July2, 2015, shortly before traveling to Micronesia, FRANK JAMES

LYON withdrew $6,000 cash from an Engineering Company bank account in Hawaii for the

purpose of paying a cash bribe to Micronesian Official 1 and/or Co-Conspirator 3 for the benefit

of Co-Conspirator 3 and State Agency officials.

       40.     On or about July 3, 2015, shortly before traveling to Micronesia, FRANK JAMES

LYON withdrew $2,000 cash from an Engineering Company bank account in Hawaii for the

purpose of paying a cash bribe to Micronesian Official 1 and/or Co-Conspirator 3 for the benefit

of Co-Conspirator 3 and State Agency officials.

       41.     On or about December 9, 2015, FRANK JAMES LYON sent an email to Co-

Conspirator 1 stating that "[Micronesian Official 1] is asking for $5K/month .... So you and I will

have to work together on spending & get agreement with [another Engineering Company

executive] on guidelines on what goes into [marketing]."

       42.     In or around 2015, FRANK JAMES LYON met with Co-Conspirator 3 in the

District of Hawaii to provide a corrupt cash payment to Co~Conspirator 3, which FRANK JAMES

LYON and Co-Conspirator 3 understood was in furtherance of the corrupt agreement referenced

in Paragraph 28 to benefit Co-Conspirator 3 and certain State Agency officials who had served on

the selection committee and influenced the award of the $2.5 million State Agency contract to

Engineering Company.

       43.     In or around 2015, FRANK JAMES LYON and his co-conspirators purchased an

automobile for Micronesian Official 1's personal use in order to obtain and retain business.



                                                11
Case 1:19-cr-00008-SOM Document 1 Filed 01/16/19 Page 12 of 13                    PageID #: 12



       44.    On or about April 15, 2016, FRANK JAMES LYON stated in an email that he

intended to pay for an apartment for Micronesian Official 2 and that Micronesian Official 2

"handles the infrastructure committee - which I need to approve our $500K contract week [of]

[M]ay 11."

       45.    On or about December 12, 2016, FRANK JAMES LYON and his co-conspirators

caused Engineering Company to transmit $2,500 to Co-Conspirator 3, purportedly for marketing

services, when in fact the payment was intended to compensate Co-Conspirator 3 for influencing

the award of a State Agency contract in favor of Engineering Company.

       46.    In or around 2016, FRANK JAMES LYON met with Co-Conspirator 3 in the

District of Hawaii to provide a corrupt cash payment to Co-Conspirator 3, which FRANK JAMES

LYON and Co-Conspirator 3 understood was in furtherance of the corrupt agreement referenced

in Paragraph 28 to benefit Co-Conspirator 3 and certain State Agency officials who had served on

the selection committee and influenced the award of the $2.5 million State Agency contract to

Engineering Company.

       All in violation of Title 18, United States Code, Section 371.



    Dated:    January 16, 2019, at Honolulu, Hawaii

    BRIAN A. BENCZKOWSKI
    Assistant Attorney General of the Criminal Division
    Attorney for the United States,
    Acting Under Authority Conferred by 28 U.S.C. § 515


    ROBERT A. ZINK
    Acting Chief
    Criminal Division, Fraud Section
    U.S. Department of Justice




                                                12
Case 1:19-cr-00008-SOM Document 1 Filed 01/16/19 Page 13 of 13     PageID #: 13




     Dated:   January 16, 2019, at Honolulu, Hawaii

     BRIAN A. BENCZKOWSKI
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     Attorney for the United States,
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     Criminal Division, Fraud Section
     U.S. Department of Justice




                                                  Trial Attorney



 UNITED STATES v. FRANK JAMES LYON
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